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     Encino, California 91436-2746
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 5
     Attorney for Defendant
 6   NAM PHAMTRAN
 7
 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       ) CASE NO.: 2:05-CR-542-GEB
                                                     )
12                          Plaintiff,               ) STIPULATION AND [PROPOSED]
                                                     ) ORDER TO CONTINUE
13   vs.                                             )
                                                     )
14   THO LE, et. al.,                                )
                                                     )
15                          Defendants.              )
                                                     )
16
17            It is hereby stipulated and agreed to between the United States of America through Matthew
18   C. Stegman, Assistant United States Attorney; defendant, NAM PHAMTRAN, by and through his
19   counsel, Alex R. Kessel, defendant, TRI HUU BUI, by and through his counsel Scott L. Tedmon;
20   defendant, MICHELLE CHAUN GOC LE, by and through her counsel, Mark Bledstein; defendant
21   THANG QUOC BUI, by and through his counsel, Tim Warriner; and TUNG THANH HUYNH, by
22   and through his counsel, Matthew C. Bockman, Assistant Federal Defender, that the status/motions
23   hearing date currently set for October 23, 2009 at 9:00am, be continued to December 4, 2009 at
24   9:00am.
25            Counsel requires additional time to continue possible plea negotiations with the government.
26            Counsel for defendant Nam Phamtran is engaged in trial in the matter of People vs. Enrique
27   Sanchez, case number BA337376 in Department 129 of the Los Angeles County Superior Court,
28   Central District in Los Angeles. This is an attempted murder case wherein the defendant is in


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 1   custody.
 2          Counsel for defendant Nam Phamtran hereby withdraws without prejudice his pending
 3   Motion to Suppress Wiretap Applications and Statesments of Nam Gia Phamtran.
 4          IT IS FURTHER STIPULATED that the period from October 23, 2009(the date currently set
 5   for the motions hearing) through and including December 4, 2009, be excluded in computing the
 6   time within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C.
 7   §3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of counsel and 18 U.S.C.
 8   §§3161(h)(8)(B)(ii) and Local Code T2 for complexity.
 9
10   Dated: October 20, 2009                    Respectfully submitted,
11
12                                              /s/ Alex R. Kessel
                                                _______________________
13                                              ALEX R. KESSEL
                                                Attorney for Defendant
14                                              NAM PHAMTRAN
15
16                                              /s/ Alex R. Kessel for
                                                ________________________
17                                              SCOTT L. TEDMON
                                                Attorney for Defendant
18                                              TRUI HUU BUI
19
                                                /s/ Alex R. Kessel for
20                                              ________________________
                                                MARK BLEDSTEIN
21                                              Attorney for Defendant
                                                MICHELLE CHAUN GOC LE
22
23
                                                /s/ Alex R. Kessel for
24                                              ________________________
                                                TIMOTHY WARRINER
25                                              Attorney for Defendant
                                                THANG QUOC BUI
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 1                                     /s/ Alex R. Kessel for
                                       ________________________
 2                                     MATTHEW BOCKMON
                                       Attorney for Defendant
 3                                     TUNG THANH HUYNH
 4
 5
 6   Dated: October 20, 2009           MCGREGOR W. SCOTT
                                       United States Attorney
 7
                                       /s/ Alex R. Kessel for
 8                                     ________________________
                                       MATTHEW C. STEGMAN
 9                                     Assistant United States Attorney
10
                                        ORDER
11
     IT IS SO ORDERED:
12
13   Dated: October 27, 2009

14
15                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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